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                      UNITED STATES DISTRICT COURT
                     WESTERN DISTRICT OF NEW YORK
__________________________________________

UNITED STATES OF AMERICA,

                                    Plaintiff

                                                          DECISION and ORDER
-vs-
                                                          11-CR-6083

GINA TATA,

                            Defendant
__________________________________________

       Siragusa, J. This case was referred by order of the undersigned, docketed May 2, 2011

(Docket # 2), to Magistrate Judge Marian W. Payson, pursuant to 28 U.S.C. § 636(b)(1)(A)-(B).

On August 1, 2011, Defendant filed an omnibus motion (Docket # 58) seeking various forms

of relief, including a request for the suppression of statements, as well as a hearing in that

regard. As to the suppression of statements, on November 21, 2011, Magistrate Judge Payson

filed a Report and Recommendation (“R&R”) (Docket # 94) recommending that the Court deny

Defendant’s motion to suppress, since the request was not supported by an affidavit on the

part of a person with knowledge. The time has passed for Defendant to file any objections to

the R&R, and none have been filed.

       Accordingly, for the reasons set forth in Magistrate Judge Payson’s R&R, Defendant’s

application to suppress statements is denied.

       IT IS SO ORDERED.

Dated: Rochester, New York
       January 11, 2012

                            ENTER:

                                            /s/ Charles J. Siragusa
                                            CHARLES J. SIRAGUSA
                                            United States District Judge
